  Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 1 of 20 PageID #:913




                         NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

KEVIN BURBIGE and ZIYANG NIE,
Individually and On Behalf of All Others
Similarly Situated,                           Case No. 1:21-cv-04349

                             Plaintiffs,      Honorable Edmond E. Chang

       vs.

ATI PHYSICAL THERAPY, INC. f/k/a
FORTRESS VALUE ACQUISITION CORP. II,
LABEED DIAB, JOSEPH JORDAN,
ANDREW A. MCKNIGHT, JOSHUA A.
PACK, MARC FURSTEIN, LESLEE COWEN,
AARON F. HOOD, CARMEN A. POLICY,
RAKEFET RUSSAK-AMINOACH, and
SUNIL GULATI,

                             Defendants.


 MEMORANDUM OF LAW IN SUPPORT OF MR. MCKNIGHT'S AND THE FVAC
    DEFENDANTS' MOTION TO DISMISS THE AMENDED COMPLAINT


                                               SKADDEN, ARPS, SLATE,
                                                  MEAGHER & FLOM LLP
                                               Charles F. Smith
                                               155 North Wacker Drive
                                               Chicago, Illinois 60606
                                               Phone: (312) 407-0700
                                               Facsimile: (312) 407-0411

                                               Scott D. Musoff
                                               Michael M. Powell
                                               One Manhattan West
                                               New York, New York 10014
                                               Phone: (212) 735-5000
                                               Facsimile: (212) 735-2000

                                               Attorneys for Mr. McKnight and the
                                               FVAC Defendants
       Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 2 of 20 PageID #:914




                                                 TABLE OF CONTENTS

PRELIMINARY STATEMENT ................................................................................................. 1

ARGUMENT .............................................................................................................................. 6

I.        PLAINTIFFS DO NOT IDENTIFY ANY MATERIAL MISSTATEMENT OR
          ALLEGE LOSS CAUSATION AS THEIR CLAIMS REQUIRE .................................... 7

II.       PLAINTIFFS' SECTION 10(b) CLAIM AGAINST MR. MCKNIGHT SHOULD
          ALSO BE DISMISSED BECAUSE PLAINTIFFS DO NOT PLEAD A STRONG
          INFERENCE OF SCIENTER.......................................................................................... 7

          A.         Mr. McKnight Cannot Be Lumped in with ATI and ATIP Executives. ................. 7

          B.         Plaintiffs' Confused Confidential Witness Statements Do Not Demonstrate
                     that Mr. McKnight Had Knowledge of Any ATI or ATIP Attrition Issues. ........... 9

          C.         Plaintiffs' Other Scienter Allegations Are Deficient. ........................................... 10

III.      PLAINTIFFS FAIL TO STATE A CLAIM AGAINST MR. MCKNIGHT AND
          THE FVAC DEFENDANTS PURSUANT TO SECTION 20(A) BASED ON
          THE PROXY SOLICITATION MATERIALS .............................................................. 13

CONCLUSION ......................................................................................................................... 15
     Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 3 of 20 PageID #:915




                                            TABLE OF AUTHORITIES

                                                           CASES
                                                                                                                       Page(s)

In re Allscripts Securities Litigation,
        No. 00 C 6796, 2001 U.S. Dist. LEXIS 8897 (N.D. Ill. June 28, 2001) .......................... 13

Appvion, Inc. Retirement Savings & Employee Stock Ownership Plan v. Buth,
      475 F. Supp. 3d 910 (E.D. Wis. 2020) ............................................................................. 9

In re Baxter International Securities Litigation,
       No. 19 C 7786, 2021 U.S. Dist. LEXIS 5158 (N.D. Ill. Jan. 12, 2021) ........................... 12

Brasher v. Broadwind Energy, Inc.,
      No. 11 CV 991, 2012 WL 1357699 (N.D. Ill. Apr. 19, 2012) ......................................... 11

Société Générale Securities Services v. Caterpillar, Inc.,
       No. 17 cv 1713, 2018 WL 4616356 (N.D. Ill. Sept. 26, 2018) .................................... 3, 14

City of New Orleans Employees’ Retirement System v. PrivateBancorp, Inc.,
        No. 10 C 6826, 2011 WL 5374095 (N.D. Ill. Nov. 3, 2011) ............................................ 9

Collins v. D.J. Kibort,
       143 F.3d 331 (7th Cir. 1998)............................................................................................ 7

Cornielsen v. Infinium Capital Management, LLC,
       916 F.3d 589 (7th Cir. 2019).......................................................................................... 11

DiLeo v. Ernst & Young,
       901 F.2d 624 (7th Cir. 1990).......................................................................................... 12

Higginbotham v. Baxter International, Inc.,
      495 F.3d 753 (7th Cir. 2007)...................................................................................... 8, 10

Laferriere v. System Parking,
       No. 04 C 2387, 2005 WL 8178316 (N.D. Ill. Aug. 22, 2005) ........................................... 3

Pugh v. Tribune Co.,
       521 F.3d 686 (7th Cir. 2008).............................................................................. 3, 8, 9, 11

Rehm v. Eagle Finance Corp.,
      954 F. Supp. 1246 (N.D. Ill. 1997) ........................................................................... 11, 13

Sakhrani v. Brightpoint, Inc.,
      No. IP 99-870-C H/G, 2001 U.S. Dist. LEXIS 5023 (S.D. Ind. Mar. 29, 2001) .............. 11




                                                               ii
     Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 4 of 20 PageID #:916




Starr v. !Hey, Inc.,
         No. 01 C, 6087, 2003 WL 21212596 (N.D. Ill. May 23, 2003) ...................................... 14

Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
       551 U.S. 308 (2007) .................................................................................................. 8, 10

Wade v. WellPoint, Inc.,
      892 F. Supp. 2d 1102 (S.D. Ind. 2012) ............................................................................. 9

                                                          STATUTES

15 U.S.C. § 78u-4(b)(1)............................................................................................................... 7

15 U.S.C. § 78u-4(b)(2)............................................................................................................... 8




                                                                  iii
    Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 5 of 20 PageID #:917




        Defendant Andrew A. McKnight and Defendants Joshua A. Pack, Marc Furstein, Leslee

Cowen, Aaron F. Hood, Carmen A. Policy, Rakefet Russak-Aminoach, and Sunil Gulati (the

"FVAC Defendants") respectfully submit this memorandum of law in support of their motion to

dismiss the Consolidated Amended Class Action Complaint (ECF No. 58, "AC").

                                    PRELIMINARY STATEMENT

        As set forth in the memorandum of law filed by Defendants ATI Physical Therapy, Inc.,

Laheed Diab, and Joseph Jordan ("ATI Brief") in support of their concurrently-filed motion to

dismiss, Plaintiffs' claims should be dismissed for, among other reasons, failing sufficiently to

allege any false or misleading statements, the requisite intent, or loss causation. The FVAC

Defendants and Mr. McKnight incorporate all such applicable arguments. In addition, this

memorandum of law sets forth certain unique arguments applicable to them.

        Plaintiffs' allegations against Mr. McKnight and the FVAC Defendants misconstrue the

nature of a special purpose acquisition company ("SPAC") and seek to capitalize on overall

criticisms of SPACs rather than offer particular factual allegations concerning the SPAC at issue

here. A SPAC is a company that conducts an initial public offering with the purpose of using the

cash raised in that IPO to then acquire an operating company. "Unlike an operating company

that becomes public through a traditional IPO . . . a SPAC is a shell company when it becomes

public. This means it does not have an underlying operating business . . . ."1 Consistent with

this, a SPAC and a company it targets for a business combination are legally separate entities

until a transaction is completed.




1
    SEC's Office of Investor Education and Advocacy, What You Need to Know About SPACs – Updated Investor
    Bulletin (May 25, 2021), available at https://www.investor.gov/introduction-investing/general-resources/news-
    alerts/alerts-bulletins/investor-bulletins/what-you (last accessed April 11, 2022).
    Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 6 of 20 PageID #:918




       Here, the FVAC Defendants were directors of the SPAC "Fortress Value Acquisition

Corp. II" ("FVAC"), and Mr. McKnight was its chief executive officer. Plaintiffs' claims arise

out of alleged operational issues (employee attrition) of the target company, ATI Physical

Therapy, Inc. ("ATI") that FVAC eventually acquired. Neither the FVAC Defendants nor Mr.

McKnight had any role whatsoever in the day-to-day operations of ATI prior to the acquisition

or after it. Despite this, Plaintiffs seek to impute intimate knowledge of the ground-level

operations of ATI, and pre-merger control over the company, to them. But Plaintiffs' conflation

of those individuals with ATI's executives and FVAC with ATI cannot disguise their failure to

plead claims against the FVAC Defendants or Mr. McKnight.

       First, as explained in the ATI Brief, contrary to the requirements of Section 10(b) and

14(a), Plaintiffs do not identify any material misstatement or omission, or loss causation,

mandating dismissal of those claims and the derivative Section 20(a) claims based on them.

         Second, Plaintiffs fail to adequately allege that Mr. McKnight, the only defendant here

against whom Section 10(b) claims are brought, acted with scienter. Nor could they so allege:

The funds with which Mr. McKnight and certain other FVAC Defendants were affiliated

invested $75 million in ATI as part of the SPAC transaction, and the value of the so-called

"sponsor" shares that FVAC-affiliated defendants (including Mr. McKnight) received depended

solely on the post-merger success of ATI. Accordingly, there was absolutely no motive for Mr.

McKnight (or any of these defendants) to have gone forward with the transaction if they had

known that ATI would disclose negative news in the months following the merger. Plaintiffs'

allegations are an impermissible attempt to plead fraud-by-hindsight, and their reliance on group

pleading, muddled confidential witness allegations, and generalized allegations of access to




                                                 2
    Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 7 of 20 PageID #:919




unspecified information fails to satisfy PSLRA standards. See, e.g., Pugh v. Trib. Co., 521 F.3d

686, 693-94 (7th Cir. 2008).

        Third, Plaintiffs' Section 20(a) claims against Mr. McKnight and the FVAC Defendants

should be dismissed because, as set forth in the ATI Brief, the underlying Section 10(b) and

14(a) claims are subject to dismissal, and because they do not allege that Mr. McKnight and the

FVAC Defendants exercised actual control as their control person claims require. See Société

Générale Sec. Servs. v. Caterpillar, Inc., 2018 WL 4616356, at *4 (N.D. Ill. Sept. 26, 2018).

                                       STATEMENT OF FACTS 2

        A.       SPACs, the Merger, and Plaintiffs' Conflation of the Entities at Issue

        Mr. McKnight and the FVAC Defendants are the former directors of FVAC, a SPAC

formed in June 2020. (See AC ¶ 46.) FVAC had its initial public offering in August 2020 and

then embarked on a pursuit of a suitable operating company to acquire. (See AC ¶ 52.) After six

months, FVAC carried out a business combination with Wilco Holdco, Inc., a privately-held

healthcare company providing outpatient physical therapy services under the name "ATI

Physical Therapy." (See Smith Decl. Ex. 1 at F-7.) That transaction (the "Merger") was

announced on February 22, 2021, and completed on June 17, 2021. (See AC ¶ 5.) Solicitation

for approval of the Merger by FVAC's shareholders was made via a definitive proxy statement

dated May 14, 2021 (the "Proxy Statement"). (See AC ¶ 33; ¶¶ 35-41.)

        As the Proxy Statement describes, the Merger was structured so that Wilco Holdco, Inc.

was merged into FVAC. (See Smith Decl. Ex. 1 at 1.) Upon the Merger, FVAC changed its

name to "ATI Physical Therapy, Inc.," which is the name of the publicly-traded entity named as


2
    The facts set forth herein are drawn from the Amended Complaint together with those "documents appended to
    the complaint or incorporated in the complaint by reference." Laferriere v. Sys. Parking, 2005 WL 8178316, at
    *1 (N.D. Ill. Aug. 22, 2005). Certain documents incorporated by reference are attached to the accompanying
    Declaration of Charles F. Smith and referred to as "Smith Decl. Ex. _."


                                                       3
    Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 8 of 20 PageID #:920




a defendant in this action. (See id.; see AC at 1.) Plaintiffs purport to use the term "the

Company" and "ATI" to refer to "FVAC together with ATI Physical Therapy, Inc." (AC at 1),

i.e., the SPAC vehicle under both its original and new names. But, careful parsing of their

allegations makes clear that they also (and more frequently) use both terms to refer to the private

company that was merged into FVAC. For example, Plaintiffs allege that:

            •   "ATI became a publicly traded company upon the completion of a merger with
                FVAC." (AC ¶ 5.) As described above, Wilco Holdco, Inc. was the entity that
                merged "with" FVAC through the Merger, and FVAC had become publicly-
                traded in August 2020, not upon completion of the Merger. (See id. ¶ 52.)

            •   "ATI was initially founded as Assessment Technologies, Inc. . . . and has been
                providing physical therapy services since 1996." (See id. ¶ 46.)

            •   "On or about February 6, 2019, as part of the planned Merger, Defendant Diab
                entered into an employment agreement with the Company and became the
                Company's CEO, replacing McKnight, the Company's former CEO." (Id. ¶ 56.)
                The source they cite for this statement in reality states that Mr. Diab entered into
                an employment agreement in 2019 with "the Company," an entity that is defined
                in that document as the privately-held Wilco Holdco, Inc. (See Smith Decl. Ex. 1
                at 212, 1.) That document, dated May 14, 2021, moreover lists Defendant
                McKnight as the CEO of FVAC. (See, e.g., id at 1, 3.)

       For the purposes of this motion, Mr. McKnight and the FVAC Defendants will use the

term "FVAC" to refer to the SPAC vehicle as it existed pre-Merger, "ATI" to refer to the

privately-held company providing physical therapy services that was merged into FVAC, and

"ATIP" to describe the entity that survived the Merger and is named as a defendant.

       B.       Mr. McKnight and the FVAC Defendants

       Mr. McKnight and the FVAC Defendants were each directors of FVAC, and Mr.

McKnight was its CEO. (See AC ¶ 36-41; Smith Decl. Ex. 1 at 7.) Plaintiffs allege that the

FVAC Defendants held such positions "at all relevant times." (See AC ¶ 36-41.) The Proxy

Statement further explains that the Merger was structured so that the FVAC directors resigned

from FVAC upon the completion of the Merger on June 17, 2021, other than Mr. McKnight, who


                                                  4
    Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 9 of 20 PageID #:921




assumed the position of director on ATIP's board post-Merger. (See Smith Decl. Ex. 1 at 155.)

Several aspects of the Merger ensured that Mr. McKnight's and the FVAC Defendants' interests

remained tied to ATIP post-Merger, however. First, as the Proxy Statement reported, certain

credit funds with which Mr. McKnight and a number of FVAC Defendants were (and are)

affiliated invested $75 million in ATIP as part of the Merger. (See Smith Decl. Ex. 1 at 4-5.)

Next, the Merger featured a unique provision whereby so-called "sponsor" shares held by FVAC,

the FVAC Defendants, and Mr. McKnight were subject to certain vesting provisions, which

made the vesting of those shares contingent on ATIP's achievement of share price milestones of

$12, $14, and $16 per share—each greater than the $10 per share price of the Merger. (See

Smith Decl. Ex. 1 at Annex E and E-5.)

       The Amended Complaint contains very few allegations against the FVAC Defendants.

Plaintiffs allege only that each was a director (see AC ¶¶ 35-42), and otherwise refer to them as a

group with the so-called "ATI Individual Defendants," which includes Mr. McKnight and

Defendants Diab and Jordan, the CEO and CFO of ATI and ATIP. (See AC ¶¶ 43, 44, 99, 100.)

Plaintiffs cite three statements from confidential witnesses supposedly applicable to the FVAC

Defendants. They allege that "[a]ccording to FE-1, the Company's officers and directors,

including the ATI and FVAC Individual Defendants, had access to and/or received an internally

distributed weekly report that detailed, among other things, the attrition rate among physical

therapists." (AC ¶ 99.) They also allege that "[a]t quarterly meetings, the ATI Individual

Defendants and the FVAC Defendants addressed the sky-high attrition rate among clinicians,"

and that "ATI executives (including the ATI Individual Defendants and the FVAC Defendants)

had access to this information [on attrition] and specifically requested it." (Id. ¶ 100-01.)




                                                  5
      Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 10 of 20 PageID #:922




           The foregoing confidential witness allegations are largely made without reference to

timeframe. With regard to the timing of the attrition issues, Plaintiffs allege that attrition rates

began to drastically increase above the industry average "[b]eginning in or around November

2020 and into early 2021," though, as described above, the confidential witnesses are vague on

when (if ever) this was conveyed to ATI's executives. (AC ¶ 65.) The Proxy Statement explains

that FVAC did not begin discussions regarding a potential transaction with ATI until November

2020 and did not even enter into a confidentiality agreement with ATI to discuss a potential

transaction until December 13, 2020. (See Smith Decl. Ex. 1 at 93.)

           The sole allegations specific to Mr. McKnight are that (i) he was the CEO of FVAC and

is now an ATIP director, (ii) he stated on February 22, 2021, that FVAC had "followed ATI for

a long time" and "watched and admired the company's growth" since 2016, (iii) Defendant Diab

supposedly replaced him as CEO,3 and (iv) he signed the 8-K filed at the commencement of the

class period. (See AC ¶¶ 33, 54, 56, 123.) He is otherwise grouped with ATI's and ATIP's CEO

and CFO as an "ATI Individual Defendant," despite the facts that he (i) held no position with

ATI pre-Merger and, (ii) post-Merger, is just an outside director of ATIP, not an executive.

                                                 ARGUMENT

           Plaintiffs do not meet the high pleading bar imposed by the Private Securities Litigation

Reform Act of 1995 (the "PSLRA"). Plaintiffs bring claims under Sections 10(b) and 20(a) against

Mr. McKnight (and the other "ATI Individual Defendants") for supposed misstatements. Plaintiffs

also bring claims pursuant to Sections 14(a) and Section 20(a) against the ATI Individual and

FVAC Defendants relating to supposedly misleading statements in the Proxy Statement and other

proxy solicitation materials. None of these claims can survive a motion to dismiss.


3
    As described above, Plaintiffs here misread their source document. Defendant Diab was CEO of ATI and ATIP.


                                                        6
      Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 11 of 20 PageID #:923




          The PSLRA requires that Plaintiffs "specify each statement alleged to have been

misleading, the reason or reasons why the statement is misleading, and if an allegation regarding

the statement or omission is made on information and belief, . . . state with particularity all facts

on which that belief is formed." 15 U.S.C. § 78u-4(b)(1). As is further explained in the ATI Brief,

the Amended Complaint does not meet this standard as to any defendant. But its pleading

deficiencies with regard to Mr. McKnight and the FVAC Defendants are even more glaring, and

compel dismissal of the claims against them with even greater force.

I.        PLAINTIFFS DO NOT IDENTIFY ANY MATERIAL MISSTATEMENT OR
          ALLEGE LOSS CAUSATION AS THEIR CLAIMS REQUIRE

          As set forth the ATI Brief, Plaintiffs' claims should be dismissed because they do not

identify any actionable misstatement, or allege that loss causation exists with regard to the

disclosure made in October 2021.                Mr. McKnight and the FVAC Defendants respectfully

incorporate and refer the Court to the arguments in the ATI Brief rather than repeat them here.

II.       PLAINTIFFS' SECTION 10(B) CLAIM AGAINST MR. MCKNIGHT SHOULD
          ALSO BE DISMISSED BECAUSE PLAINTIFFS DO NOT PLEAD A STRONG
          INFERENCE OF SCIENTER4

          A.       Mr. McKnight Cannot Be Lumped in with ATI and ATIP Executives.

          The Amended Complaint fails to state adequately a Section 10(b) claim against Mr.

McKnight—the sole FVAC-affiliated defendant against whom Plaintiffs bring Section 10(b)


4
      Although Plaintiffs state at one sentence in the Amended Complaint that the FVAC Defendants are among the
      defendants against whom they bring claims pursuant to Section 10(b) (see AC ¶ 19), this appears to be a
      typographical error, as it is belied by numerous other sections stating clearly that only the "ATI Individual
      Defendants" and ATI are the subject of the Section 10(b) claims, including in the counts. (See AC ¶¶ 187, 205,
      210, 220, 217.) To the extent that Plaintiffs did intend to bring Section 10(b) claims against the FVAC
      Defendants, those claims should be dismissed for failure to comply even with Rule 8, let alone Rule 9(b) and
      the PSLRA. See, e.g., Collins v. D.J. Kibort, 143 F.3d 331, 334 (7th Cir. 1998) ("A plaintiff cannot state a
      claim against a defendant by including the defendant's name in the caption."); see also, e.g., Evans v. Einhorn,
      855 F.2d 1245, 1249 (7th Cir. 1988) (where a "careful reading" of "ambiguous” complaint revealed that
      defendant was "not named as a defendant" in count 1, motion by defendant to dismiss count 1 was "denied as
      moot"). And any such claims are further subject to dismissal on the same grounds as the claims against Mr.
      McKnight and for the reasons set forth here and in the ATI Brief.


                                                           7
    Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 12 of 20 PageID #:924




claims—because Plaintiffs do not sufficiently plead scienter on his part. To plead a claim under

Section 10(b), the PSLRA requires Plaintiffs to "state with particularity facts giving rise to a

strong inference that the defendant acted with the required state of mind." 15 U.S.C. § 78u-

4(b)(2). "Th[e] 'required state of mind' is an intent to deceive, demonstrated by knowledge of the

statement's falsity or reckless disregard of a substantial risk that the statement is false."

Higginbotham v. Baxter Int'l, Inc., 495 F.3d 753, 756 (7th Cir. 2007) (citation omitted). To

plead a "strong inference" of scienter, Plaintiffs must allege facts sufficient for a "reasonable

person [to] deem the inference of scienter cogent and at least as compelling as any plausible

opposing inference one could draw from the facts alleged." Tellabs, Inc. v. Makor Issues & Rts.,

Ltd., 551 U.S. 308, 314 (2007). Notably, Plaintiffs "must create a strong inference of scienter

with respect to each individual defendant." Pugh, 521 F.3d at 693 (emphasis added). Plaintiffs,

who elide the facts that distinguish Mr. McKnight from the ATI executives against whom the

Section 10(b) claim is also brought, disregard this directive.

        Despite being labeled an "ATI Individual Defendant," Mr. McKnight is not similarly

situated to the other "ATI Individual Defendants," Defendants Diab and Jordan, who were

executives and officers of ATI pre-Merger (and occupied such roles for several years prior) and

executives and officers of ATIP post-Merger. (See AC ¶¶ 31-32.)5 Mr. McKnight, in contrast,

was a director and CEO of FVAC pre-Merger (and held no position with ATI) and post-Merger

has been only an outside director of ATIP. (See id. ¶ 33.) This is not mere semantics. The

supposed misrepresentations here (see AC ¶¶ 123-172) pertain to the operations of ATI and

ATIP, not FVAC. Plaintiffs provide no basis from which it may be plausibly inferred that Mr.

McKnight was aware of any retention issues at ATI pre-Merger, during which period he had no


5
    This by no means suggests that Plaintiffs have adequately stated a claim against those defendants.


                                                         8
   Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 13 of 20 PageID #:925




connection to that company, or post-Merger, when he was only an outside director. See, e.g.,

Appvion, Inc. Ret. Sav. & Emp. Stock Ownership Plan v. Buth, 475 F. Supp. 3d 910, 933 (E.D.

Wis. 2020) (claims against outside director defendants dismissed for failure to plead scienter).

       Plaintiffs' attempt to remedy this issue by lumping Mr. McKnight in with Defendants

Diab and Jordan as an "ATI Individual Defendant" is a tactic roundly rejected in this Circuit.

See, e.g., City of New Orleans Emps. Ret. Sys. v. PrivateBancorp, Inc., 2011 2011 WL 5374095,

at *8 (N.D. Ill. Nov. 3, 2011) ("[L]umping all defendants together constitutes group pleading,

which fails to meet the heightened PSLRA pleading requirements." (quoting Pugh, 521 F.3d at

693-94)); Wade v. WellPoint, Inc., 892 F. Supp. 2d 1102, 1127 (S.D. Ind. 2012) (no scienter

where "Plaintiff generally groups the individual Defendants together"). So too here.

       B.      Plaintiffs' Confused Confidential Witness Statements Do Not Demonstrate
               that Mr. McKnight Had Knowledge of Any ATI or ATIP Attrition Issues.

       Plaintiffs' heavy reliance on confidential witness statements does not bridge the gap. The

Amended Complaint features statements of former ATI employees to argue that the "ATI

Individual Defendants" had "direct knowledge of the Company's severe attrition rates." (AC ¶

99.) Specifically, they allege "the Company's officers and directors . . . had access to and/or

received an internally distributed weekly report that detailed, among other things, the attrition

rate;" that Defendants Diab, Jordan, and "other Company officers and directors" "frequently"

attended a quarterly "all-hands meeting" during which attrition issues were discussed; that "ATI

executives . . . had access to this information [on new hiring rates] and specifically requested it;"

and that "monthly slide decks" describing attrition were prepared for "executive leadership,

including Diab and Jordan" and "the Board of Directors, and other executives." (AC ¶¶ 99-104.)

       These allegations are striking for their lack of specificity, exacerbated by Plaintiffs'

confusing use of "ATI" and "the Company" to refer both to ATI and to ATIP. Not a single


                                                  9
      Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 14 of 20 PageID #:926




allegation specifies timeframe or date, nor does it make sense for one of these confidential

witness's reference to "directors" to have included Mr. McKnight, who was never a director or

officer of ATI and only an outside director of ATIP.6 Nor does any scienter allegation refer by

name to Mr. McKnight (in contrast to specific references to Defendants Diab and Jordan, id.).

           Plaintiffs also use undefined or catchall terms like "operational leadership," "executive

leadership," or "other executives" (AC ¶¶ 100, 103, 104) in their scienter allegations, but do not

specifically allege that Mr. McKnight was a part of that group. And other allegations undermine

that inference. Plaintiffs cite a confidential witness, "FE-4," to suggest that the "ATI Individual

Defendants" were provided monthly slide decks describing attrition rates, which FE-4

supposedly prepared. (AC ¶ 103-04.) Elsewhere, however, they allege that FE-4 left ATI in

December 2020. (See id. ¶ 86.) Mr. McKnight did not become an ATIP director until six

months after FE-4's departure, and as set forth above, FVAC did not even execute a

confidentiality agreement with ATI until December 2020, when FE-4 was leaving. This

confused and contradictory pleading falls far short of meeting the standards imposed by the

PSLRA for alleging scienter.

           C.       Plaintiffs' Other Scienter Allegations Are Deficient.

           Even if group pleading were permitted, Plaintiffs' claims against Mr. McKnight still fail

because none of the scienter allegations meets the Tellabs standard. Plaintiffs' confidential


6
    While Plaintiffs lace the confidential witness allegations with suggestions that the individuals with access to this
      information included the "FVAC Defendants" (see, e.g., AC ¶¶ 99, 100, 101), this only highlights the slipshod
      nature of their pleading. Plaintiffs do not provide any basis to support their implicit suggestion that the
      directors of FVAC—a separate legal entity—would have had regular access to ATI's confidential internal
      information, which simply is not plausible. See, e.g., Higginbotham, 495 F.3d at 757-58 (parent/subsidiary
      relationship not grounds to infer that managers of parent had same knowledge as managers of subsidiary). And
      Plaintiffs of course offer no basis to believe that the FVAC Defendants would have had access to such
      information post-Merger, at which point they held no positions with ATIP. The more compelling inference is
      that, where the confidential witnesses mention providing information to "directors," they refer to the directors of
      ATI, not the FVAC Defendants. The further inference from this is that the confidential witness allegations are
      based on observations made pre-Merger, before Mr. McKnight took his ATIP board position.


                                                            10
   Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 15 of 20 PageID #:927




witness allegations amount to claims that the "ATI Individual Defendants" had access to

information regarding attrition. But "a complaint fails to satisfy the PSLRA's particularity

requirements by making conclusory allegations of scienter derived from a defendant's mere

access to information." Cornielsen v. Infinium Cap. Mgmt., LLC, 916 F.3d 589, 602 (7th Cir.

2019) (quoting Pugh, 521 F.3d at 694)). Plaintiffs additionally cite Mr. McKnight's signature of

the Proxy Statement and a Form 8-K announcing the Merger (AC ¶¶ 33, 54, 123), but "[a]ffixing

one's signature to a document that contains misleading information does not, standing alone,

create a strong inference of scienter." Brasher v. Broadwind Energy, Inc., 2012 WL 1357699, at

*11 (N.D. Ill. Apr. 19, 2012).

       Next, the Amended Complaint purports to allege scienter on the basis that the defendants

"had an incentive to take liberties in touting the quality of ATI as an acquisition target because

they stood to gain favorable employment by ensuring the SPAC successfully acquired a

company that could employ them . . . ." (AC ¶ 184.) This allegation is facially deficient as it

relates to Mr. McKnight. He is an outside director of ATIP, not "employed" by it. Accordingly,

any suggestion that he was motivated to engage in misrepresentation to effectuate the Merger

and ensure his post-Merger "employment" is speculative and belied by the actual events. See

Rehm v. Eagle Fin. Corp., 954 F. Supp. 1246, 1254 n.4 (N.D. Ill. 1997) ("[P]urely speculative

argument cannot, without factual substantiation, support a finding of scienter."); Sakhrani v.

Brightpoint, Inc., 2001 U.S. Dist. LEXIS 5023, at *46 (S.D. Ind. Mar. 29, 2001) (scienter

inadequately pled where plaintiffs offered only "bald speculation" that defendants were

motivated to engage in fraud "loosely based upon information [regarding potential conflict of

interest] disclosed in proxy statement"). Indeed, the contrast between the flimsy nature of

Plaintiffs' conflict-of-interest speculation and other aspects of the Merger fatally undermines the



                                                 11
      Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 16 of 20 PageID #:928




conclusion that Mr. McKnight held a motive to defraud. Namely, the so-called "sponsor shares"

to which Mr. McKnight (like FVAC and other FVAC directors) were entitled from the Merger

only vested (and, thus, had any value) based on ATIP performing well post-Merger. Moreover,

Mr. McKnight was involved with the funds that invested $75 million in ATIP in the Merger. It

is nonsensical to infer that Mr. McKnight would have proceeded with the Merger if he had been

aware that the alleged issues at ATI would come to light just weeks after it was consummated.

See, e.g., DiLeo v. Ernst & Young, 901 F.2d 624, 629 (7th Cir. 1990) (scienter not pled where

"[t]he complaint does not allege that E & W had anything to gain from any fraud").

           Plaintiffs also cite Mr. McKnight's statement that FVAC "followed ATI for a long

time . . . [and] watched and admired the company's growth . . . " (AC ¶ 54.) Nothing in this

statement indicates that FVAC, Mr. McKnight, or any FVAC Defendant had access to any

information regarding attrition issues. Indeed, the statement does not even suggest that FVAC

had access to any internal information regarding ATI. It thus does not support any inference of

scienter. See, e.g., In re Baxter Int'l Sec. Litig., 2021 U.S. Dist. LEXIS 5158, at *41 (N.D. Ill.

Jan. 12, 2021) (allegations of access to information insufficient where plaintiffs had not specified

what "non-public and proprietary" information defendants had access to).7

           Finally, Plaintiffs' intimations that SPAC vehicles are more likely to be associated with

fraud (see, e.g., AC ¶¶ 5, 48-51) do not suffice to plead scienter. First, they are groundless. The

SEC official's statement that they cite to support that SPACs are "magnets for fraud" (see AC ¶ 6

n.1; id. ¶ 48) does not remotely suggest that SPACs engage in fraud (or even that they are

"naturally entice[d] to do so"). (Id.) Instead, the official states that the SPAC regulatory regime



7
    That FVAC followed ATI for a long time was no surprise, as the Proxy Statement discloses that "[v]arious
      investment funds managed by affiliates of [FVAC]" were lenders to ATI. (See Smith Decl. Ex. 1 at 4-5.)


                                                         12
    Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 17 of 20 PageID #:929




is such that sponsors and targets may "feel comfortable presenting projection and other valuation

material of a kind that is not commonly found in conventional IPO prospectuses." (See id.)

Second, even if Plaintiffs had not misrepresented that statement, they offer no reason to suppose

that a single statement by a single official accurately describes the entire SPAC industry. Third,

accepting that the mere form of a SPAC transaction—a form blessed by regulators—contributes

to an inference of scienter ignores that allegations of motive to commit fraud cannot be

"general." Rehm Eagle Fin. Corp., 954 F. Supp. at 1253-54. The Court should reject Plaintiffs'

novel scienter theory and dismiss the Section 10(b) claims against Mr. McKnight.8

III.       PLAINTIFFS FAIL TO STATE A CLAIM AGAINST MR. MCKNIGHT AND
           THE FVAC DEFENDANTS PURSUANT TO SECTION 20(A) BASED ON THE
           PROXY SOLICITATION MATERIALS9

           Plaintiffs' second set of Section 20(a) claims, based on their Section 14(a) claims, should

be dismissed on multiple separate grounds. First, because Section 20(a) claims are derivative of

the Section 14(a) claims, they must be dismissed alongside those claims. See, e.g., In re

Allscripts Sec. Litig., 2001 U.S. Dist. LEXIS 8897, at *34. Second, Plaintiffs' Section 20(a)

claims should be dismissed because Plaintiffs do not allege: "[1] that each individual defendant

exercised general control over the primary violator's operations; and [2] that each individual

defendant possessed the power or ability to control the specific transaction or activity which the

primary violation was predicated, whether or not that power was exercised." Société Générale,

2018 WL 4616356, at *8. The Section 20(a) claims are based on the following allegations:

           By virtue of their high-level positions and their ownership and contractual rights,
           participation in, and/or awareness of the Company's operations and intimate
           knowledge of the false financial statements filed by the Company with the SEC

8
       As the first Section 20(a) claim against Mr. McKnight is derivative of the Section 10(b) claim, it should be
       dismissed. See, e.g., In re Allscripts Sec. Litig., 2001 U.S. Dist. LEXIS 8897, at *34 (N.D. Ill. June 28, 2001).
9
       As described above, Mr. McKnight and the FVAC Defendants also move for dismissal of Plaintiffs' Section
       14(a) claims and respectfully incorporate and refer the Court to the arguments on those claims in the ATI Brief.


                                                            13
      Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 18 of 20 PageID #:930




           and disseminated to the investing public, the ATI Individual Defendants and the
           FVAC Defendants had the power to influence and control and did influence and
           control, directly or indirectly, the decision-making of the Company, including the
           content and dissemination of the various statements which Plaintiffs contend are
           false and misleading. The ATI Individual Defendants and the FVAC Defendants
           were provided with or had unlimited access to copies of the Company's reports,
           press releases, public filings, and other statements alleged by Plaintiffs to be
           misleading prior to and/or shortly after these statements were issued and had the
           ability to prevent the issuance of the statements or cause the statements to be
           corrected . . . The ATI Individual Defendants and the FVAC Defendants also
           reviewed the Merger agreement and voted to approve the Merger, signed the
           Proxy Solicitations, and solicited approval of the Merger.

(AC ¶ 248-49). These generic allegations are not supported with specific details of general and

specific control. For example, these allegations use "and/or" language, fail to specify whether

materials were actually provided before issuance rather than "shortly thereafter," and do not

specify what materials were provided to what defendant. And the allegations are additionally

belied by the documents incorporated by reference in the Amended Complaint. Plaintiffs plead

that the "FVAC Defendants . . . signed the Proxy Solicitations," for example, but the only

documents bearing a signature—the Proxy Statement and the Form 8-K filed on February 22,

2021—were signed by Mr. McKnight, not any FVAC Defendant, 10 and none of the other so-

called "Proxy Solicitations" are signed at all. (See Smith Decl. Exs. 2-10.) Plaintiffs in effect

rest solely on Mr. McKnight's and the FVAC Defendants' corporate status, ignoring that "a

plaintiff may not premise control person liability solely upon status within the company." Starr

v. !Hey, Inc., 2003 WL 21212596, at *4 (N.D. Ill. May 23, 2003).

           Further, the allegations are generalized, rather than tailored to each individual defendant

and each alleged misstatement, and thus do not offer any basis to suppose that Mr. McKnight and

the FVAC Defendants exercised any level of control over anything. Indeed, Plaintiffs


10
     The FVAC Defendants' signatures do appear on two documents appended to the Proxy Statement, but neither is
       addressed to shareholders or contains statements Plaintiffs contend to be misleading.


                                                        14
   Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 19 of 20 PageID #:931




essentially plead to the contrary at least with regard to the FVAC Defendants. They allege that

"[i]n particular, the ATI Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company and, therefore, had the power to control or influence the

particular transactions giving rise to the securities violations as alleged herein, and exercised the

same." (AC ¶ 249 (emphasis added).) But with regard to Mr. McKnight, Plaintiffs offer no

allegations to support their bare assertion that he actually exercised "direct and supervisory

involvement in the day-to-day operations" like that of the other ATI Individual Defendants, the

company’s most senior executives. Accordingly, Plaintiffs' second set of Section 20(a) claims

must be dismissed.

                                          CONCLUSION

       For the foregoing reasons, Mr. McKnight and the FVAC Defendants respectfully request

that the Amended Complaint be dismissed with prejudice.

Dated: April 11, 2022



                                                       Respectfully submitted,


                                                       /s/ Charles F. Smith (Illinois Bar 6195537)
                                                       SKADDEN, ARPS, SLATE,
                                                       MEAGHER & FLOM LLP
                                                       Charles F. Smith
                                                       155 N. Wacker Drive
                                                       Chicago, Illinois 60606
                                                       Tel: (312) 407-0700
                                                       Fax: (312) 407-0411
                                                       charles.smith@skadden.com

                                                       Scott D. Musoff
                                                       Michael M. Powell
                                                       One Manhattan West
                                                       New York, NY 10001
                                                       Telephone: (212) 735-3000
                                                       Fax: (212) 735-2000

                                                 15
Case: 1:21-cv-04349 Document #: 72 Filed: 04/11/22 Page 20 of 20 PageID #:932




                                          scott.musoff@skadden.com
                                          michael.powell@skadden.com

                                          Counsel for Defendants
                                          Andrew A. McKnight, Joshua
                                          A. Pack, Aaron F. Hood,
                                          Carmen A. Policy, Marc
                                          Furstein, Leslee Cowen,
                                          Rakefet Russak-Aminoach,
                                          and Sunil Gulati




                                     16
